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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________________

 Mary Kay Thomas,                               Court File No.: 21-cv-02581-PJS-DJF

               Plaintiff,

 v.


 Marshall Public Schools (Independent                     PLAINTIFF’S
 School District 413); Members of the                  MOTION TO COMPEL
 Marshall School Board (in their official
 capacities); Jeff Chapman (in his
 individual and official capacities); Bill
 Swope (in his individual and official
 capacities); and Superintendent Jeremy
 Williams (in his individual and official
 capacities),

            Defendants.
________________________________________________________________________

       Plaintiff Mary Kay Thomas hereby moves the Court for an Order compelling

Defendants and Pemberton Law to produce documents and information related to Joshua

Heggem’s Investigation and Investigative Report as argued in her accompanying

Memorandum. This motion is made pursuant to the Federal Rules of Civil Procedure,

District of Minnesota LR 7.1, and upon the files, records and proceedings herein, as well

as the arguments of counsel.
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                                   Respectfully submitted,

Dated: May 9, 2023                 NICHOLS KASTER, PLLP

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Dated: May 9, 2023                 PREMO FRANK PLLC

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